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                    EXHIBIT K
            Emails regarding Fulton County Files
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Subject:    RE: Fulton Elec-on Project Package for 2020 Recount
Date:       Thursday, December 2, 2021 at 6:43:56 AM Eastern Standard Time
From:       Bryan Tyson
To:         Bruce Brown, Lowman, David
CC:         Rob McGuire, Cross, David D., Ascarrunz, Veronica, Marilyn Marks, vrusso@robbinsﬁrm.com,
            Carey Miller
ABachments: image002.jpg

Bruce,

We heard back from the Secretary’s oﬃce late yesterday and they have been unable to locate the requested
ﬁles in all of the bins where post-elec-on informa-on is returned from coun-es. If Fulton has some more
details about the delivery of those ﬁles, that may assist the search, but the Secretary has not been able to
locate the requested ﬁles.

As to the order, we don’t believe this is the proper vehicle under Georgia law to get the requested documents
(see OCGA 21-2-500) but don’t see that we as the State Defendants have a role in this dispute between the
Coali-on and Fulton.

Thanks,

Bryan



                  Bryan P. Tyson
                  Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                  P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
                  Website | vCard | LinkedIn | Twitter

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retransm t, d ssem nate or otherw se use the nformat on. A so, p ease nd cate to the sender that you have rece ved th s commun cat on n error and
de ete the copy you rece ved. If you have not executed an engagement etter w th th s f rm, we do not represent you as your attorney and no dut es are
 ntended or created by th s commun cat on. Most ega r ghts have t me m ts, and th s e ma does not const tute adv ce on the app cat on of m tat on
per ods un ess otherw se so express y stated.

From: Bruce Brown <bbrown@brucepbrownlaw.com>
Sent: Wednesday, December 1, 2021 6:47 PM
To: Lowman, David <David.Lowman@fultoncountyga.gov>; Bryan Tyson <btyson@taylorenglish.com>
Cc: Rob McGuire <ram@lawram.com>; Cross, David D. <DCross@mofo.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>; Marilyn Marks <Marilyn@USCGG.org>; vrusso@robbinsﬁrm.com; Carey Miller
<carey.miller@robbinsﬁrm.com>
Subject: Re: Fulton Elec-on Project Package for 2020 Recount

David and Bryan,


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Marilyn stayed in town the weekend after our November 19 hearing in order to meet with
David Lowman and Fulton staff to arrange to obtain the requested files that were subject to
the discovery dispute. David and his clients stated that they had delivered a copy of the
Recount Election Project files to the Secretary’s office after the election and requested that we
could obtain the records more promptly given that Fulton in the middle of an election. We have
been unable to get any responses since that meeting 10 days ago, other than the response
from Bryan saying that the Secretary’s office would check again for the Election Project Files.

We will be filing the attached proposed order tomorrow if we have not heard from you by noon
that you object to the terms of the order. It is imperative that Coalition experts be given a fair
opportunity to analyze these basic election records, most of which have been requested
repeatedly since May.

Thanks,

Bruce



From: Bryan Tyson <btyson@taylorenglish.com>
Date: Wednesday, December 1, 2021 at 3:03 PM
To: Coali-on for Good Governance <Marilyn@USCGG.org>, "vrusso@robbinsﬁrm.com"
<vrusso@robbinsﬁrm.com>, Carey Miller <carey.miller@robbinsﬁrm.com>
Cc: Rob McGuire <ram@lawram.com>, "Lowman, David" <David.Lowman@fultoncountyga.gov>,
Bruce Brown <bbrown@brucepbrownlaw.com>, "Cross, David D." <DCross@mofo.com>, "Ascarrunz,
Veronica" <VAscarrunz@mofo.com>
Subject: RE: Fulton Elec-on Project Package for 2020 Recount

I have asked and they have not yet located any Fulton recount Elec-on Project Packages. They are s-ll looking
and hopefully will have an update soon.

Thanks,

Bryan



             Bryan P. Tyson
             Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
             P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
             Website | vCard | LinkedIn | Twitter

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retransm t, d ssem nate or otherw se use the nformat on. A so, p ease nd cate to the sender that you have rece ved th s commun cat on n error and
de ete the copy you rece ved. If you have not executed an engagement etter w th th s f rm, we do not represent you as your attorney and no dut es are
 ntended or created by th s commun cat on. Most ega r ghts have t me m ts, and th s e ma does not const tute adv ce on the app cat on of m tat on
per ods un ess otherw se so express y stated.

From: Marilyn Marks <Marilyn@USCGG.org>
Sent: Tuesday, November 30, 2021 4:56 PM
To: Bryan Tyson <btyson@taylorenglish.com>; vrusso@robbinsﬁrm.com; Carey Miller
<carey.miller@robbinsﬁrm.com>
Cc: Rob McGuire <ram@lawram.com>; Lowman, David <David.Lowman@fultoncountyga.gov>; Bruce Brown
<bbrown@brucepbrownlaw.com>; Cross, David D. <DCross@mofo.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>
Subject: Re: Fulton Elec-on Project Package for 2020 Recount

Bryan,
Have you had a chance to ask your client about these files?
We really need to let our experts work with them.
Thanks.
Marilyn


From: Marilyn Marks <Marilyn@USCGG.org>
Date: Monday, November 22, 2021 at 3:48 PM
To: Bryan Tyson <btyson@taylorenglish.com>, "vrusso@robbinsﬁrm.com" <vrusso@robbinsﬁrm.com>,
Carey Miller <carey.miller@robbinsﬁrm.com>
Cc: Rob McGuire <ram@lawram.com>, "Lowman, David" <David.Lowman@fultoncountyga.gov>,
Bruce Brown <bbrown@brucepbrownlaw.com>, "Cross, David D." <DCross@mofo.com>
Subject: Fulton Elec-on Project Package for 2020 Recount

Counsel,
David Lowman and Fulton staff and I met today to sort out some of the outstanding document
discovery. Plaintiffs have not received the Fulton Recount Election Project Package
requested back in the spring. The original count package was produced by SOS, I believe.
Fulton staff says a recount package copy was delivered to the SOS in December. Given that
they are in the middle of an election, it will take several days for Fulton to reproduce a copy of
the recount election project package. We agreed that Coalition Plaintiffs would make the
request again to you, and request that you ask your client to look for those files. Please let us
know whether your clients can locate them promptly and we will figure out the most efficient
deliver to our experts.

Thank you.




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Marilyn Marks
Executive Director
Coalition for Good Governance
Cell: 970 404 2225
Marilyn@USCGG.org
Follow me @MarilynRMarks1




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